   Case 16-01120           Doc 47    Filed 09/29/17 Entered 09/29/17 14:40:08       Desc Main
                                       Document     Page 1 of 5



                              UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MASSACHUSETTS
                                      (EASTERN DIVISION)

_____________________________________
                                      )
In re:                                )
                                      )                      Chapter 7
LYMAN-CUTLER, LLC                     )                      No. 15-13881-FJB
               Debtor.                )
                                      )
____________________________________ )
____________________________________
                                     )
LYMAN-CUTLER, LLC,                   )
                                     )
       Plaintiff,                    )
                                     )                       Adv. Proc. No. 16-01120-FJB
       v.                            )
                                     )
VADIM KAGAN, TATIANA KAGAN,          )
KAGAN DEVELOPMENT KDC, CORP. )
and PROEXCAVATION CORP.              )
                                     )
       Defendants.                   )
____________________________________)


                    REPLY TO ALEX FILIPPOV, AND NICKOLAY LIPETSKER’S
                          SUPPLEMENT TO MOTION TO INTERVENE

               Vadim Kagan, Tatiana Kagan, Kagan Development KDC, Corp., and ProExcavation

Corp. (collectively, the “Kagan Parties”), by and through their undersigned attorneys,

respectfully submit this reply to the Supplement to Alex Filippov and Nick Lepetsker’s Motion

to Intervene [Docket No. 46] filed on September 15, 2017 (the “Supplement”) by Alex Filippov

(“Filippov”) and Nickolay Lipetsker (“Lipetsker”). In support of this Reply, the Kagan Parties

state as follows:




{S1029422.2}
    Case 16-01120            Doc 47     Filed 09/29/17 Entered 09/29/17 14:40:08                       Desc Main
                                          Document     Page 2 of 5



               As set forth in an earlier pleading,1 the Kagan Parties concur with the Court’s analysis

and support dismissal of the Adversary Proceeding for lack of subject matter jurisdiction or

abstention under 28 U.S.C. § 1334(c)(1). See Show Cause Order [Adv. Proc. Docket No. 29].

The Court properly identified that the adjudication of the claims brought in this Adversary

Proceeding would have no conceivable effect on the bankruptcy estate and, as such, are outside

of its subject matter jurisdiction or, alternatively, warrant abstention under 28 U.S.C. §

1334(c)(1).

               The Supplement does nothing to alter the Court’s analysis. Rather, it only highlights that

the claims sought to be brought by Filippov and Lipetsker can and should be resolved in state

court and have no bankruptcy purpose. Recognizing this impediment, Filippov and Lipetsker

propose to amend the complaint to add a new, equitable subordination claim and argue that the

assertion of this claim provides a basis for intervention and creates jurisdiction over the action.2

But subordination is a remedy in which the order of payment rather than the existence of the debt

is at issue. Moreover, under Section 510(c) of the Bankruptcy Code, allowed claims may be

subordinated to allowed claims, but allowed claims may not be subordinated to interests. 11

U.S.C. §510(c); see also Shubert v. Lucent Techs. Inc. (In re Winstar Communications, Inc.),

554 F.3d 382, 414 (3d Cir. 2009)(“a creditor’s claim can be subordinated only to the claims of

other creditors, not equity interests”); Adelphia Recovery Trust v. Bank of America, N.A., 390

B.R. 80, 99 (S.D.N.Y. 2008)(“a given claim may not be subordinated to an equity interest, but



1
  Kagan Parties’ Reply to Lyman-Cutler, LLC, Alex Filippov, and Nickolay Lipetsker’s Joint Statement Regarding
the Court’s Jurisdiction dated September 1, 2017 [Docket No. 44]. The Kagan Parties incorporate that statement by
reference with this Reply.
2
  Filippov and Lipetsker are presently not parties to this action. A motion to intervene requires the identification of
the existing claims that intervention is sought. Fed. R. Civ. P. 24(c). Here, Filippov and Lipetsker identify certain
existing claims and also propose a new claim. The Kagan Parties reserve their right to oppose any motion to amend
the complaint.


{S1029422.2}
                                                           2
   Case 16-01120             Doc 47     Filed 09/29/17 Entered 09/29/17 14:40:08           Desc Main
                                          Document     Page 3 of 5



only to another claim”).

               The deadline for filing claims in the Debtor’s case was May 3, 2016. Filippov and

Lipetsker filed proofs of interest. However, Lipetsker did not file a proof of claim and Filippov

only filed a late claim for a purported mortgage in the amount of $208,333. [Claim No. 9]. The

Kagan Parties have objected to the Filippov claim. [Docket No. 167]. Given that Lipetsker did

not file a claim and Filippov’s late-filed claim is the subject of an objection, neither Lipetsker or

Filippov have standing to assert equitable subordination claims, and the suggestion that the

Kagan Parties’ claims could be equitably subordinated to their interests is not authorized by

Section 510(c). Moreover, even if jurisdiction exists for the case to proceed and equitable

subordination was appropriate (it is not), since the estate has more than $3 million dollars to

distribute for the payment of allowed claims, any re-ordering of the payment of such claims is

likely a meaningless exercise. Filippov and Lipetsker have preserved their right to object to the

claims filed by the Kagan Parties. But if they wish to pursue affirmative relief and, as they state

in the Supplement, “to prosecute their own, individual claims against [the Kagan Parties],”

Supplement at pp. 1-2, they will have to do so in another court.

               It was Filippov’s and Lipetsker’s decision to put the Debtor in bankruptcy, but in doing

so they do not get the benefit of this Court to pursue non-debtor litigation that has no bearing on

the bankruptcy case. To the extent they wish to seek a resolution of those disputes, which are

entirely based in state law, they should be forced to do so in state court after the bankruptcy

claims are resolved. This Court should deny Filippov’s and Lipetsker’s Motion to Intervene and

dismiss this Adversary Proceeding for lack of subject matter jurisdiction or abstention under 28

U.S.C. § 1334(c)(1).




{S1029422.2}
                                                       3
   Case 16-01120   Doc 47   Filed 09/29/17 Entered 09/29/17 14:40:08   Desc Main
                              Document     Page 4 of 5



Dated: September 29, 2017             Respectfully submitted,

                                      VADIM KAGAN
                                      TATIANA KAGAN
                                      KAGAN DEVELOPMENT KDC, CORP.
                                      PROEXCAVATION CORP.

                                      By their Attorneys,

                                      /s/ Christopher M. Candon
                                      Christopher M. Candon, BBO# 650855
                                      John H. Perten, BBO# 548728
                                      SHEEHAN PHINNEY BASS & GREEN, PA
                                      255 State Street, 5th Floor
                                      Boston, MA 02109
                                      Tel: 603-627-8168
                                      Fax: 603-641-8768
                                      E-mail: ccandon@sheehan.com




{S1029422.2}
                                         4
   Case 16-01120             Doc 47     Filed 09/29/17 Entered 09/29/17 14:40:08           Desc Main
                                          Document     Page 5 of 5



                                       CERTIFICATE OF SERVICE

               I hereby certify that on this 29th day of September, 2017, a copy of the foregoing was

served upon the parties listed below via ECF and/or first class mail, postage prepaid.

John Fitzgerald                                          Joseph P. Calandrelli
Office of the US Trustee                                 O’Connor Carnathan and Mack LLC
J.W. McCormack Post Office & Courthouse                  1 Van De Graaff Drive
5 Post Office Sq., 10th Fl, Suite 1000                   Suite 104
Boston, MA 02109                                         Burlington, MA 01772

Sean T. Carnathan                                        Stephen G. DeLisle
O’Connor, Carnathan and Mack, LLC                        Rubin and Rudman LLP
8 New England Executive Park                             50 Rowes Wharf
Suite 310                                                3rd Floor
Burlington, MA 01803                                     Boston, MA 02110

David B. Madoff                                          Amy M. McCallen
Madoff & Khoury LLP                                      Rubin and Rudman LLP
124 Washington Street - Suite 202                        50 Rowes Wharf
Foxborough, MA 02035                                     Boston, MA 02110

Steffani Pelton Nicholson                                David C. Phalen
Madoff & Khoury LLP                                      Hackett Feinberg P.C.
124 Washington Street                                    155 Federal Street, 9th Floor
Foxborough, MA 02035                                     Boston, MA 02110

Sarah A Smegal                                           Peter N. Tamposi
Hackett Feinberg P.C.                                    The Tamposi Law Group
155 Federal Street                                       159 Main Street
9th Floor                                                Nashua, NH 03060
Boston, MA 02110




                                                    /s/ Christopher M. Candon
                                                    Christopher M. Candon




{S1029422.2}
